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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 P4S, LLC,

                                Plaintiff,

                        V.                             Case No. 24-cv-08638

 THE PARTNERSHIPS AND                                  DEMAND FOR JURY TRIAL
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE "A",

                                Defendants.

                                             COMPLAINT

       P4S, LLC ("Plaintiff'), by and through its undersigned counsel, hereby files this

Complaint for copyright infringement under the Copyright Act, false designation of origin under

the Lanham Act, violation of the Illinois Deceptive Trade Practices Act, and civil conspiracy

against the Partnerships and Unincorporated Associations Identified in Schedule "A"

("Defendants"). In support hereof, Plaintiff, states as follows:

I.     JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Copyright Act, 17 U.S.C. § 101, et seq., the Lanham Act, 15

U.S.C. § 1051, et seq., and 28 U.S.C. §§ 1338(a)-(b). This Court has jurisdiction over the claims

in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a)

because the state law claims are so related to the federal claims that they form part of the same

case or controversy and derive from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants, since each Defendant directly targets




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business activities toward consumers in the United States, including Illinois, through their

operation of or assistance in the operation of the fully interactive, commercial internet stores

operating under the Defendant domain names and/or the Defendant Internet Stores identified in

Schedule A. Specifically, each of the Defendants directly reaches out to do business with Illinois

residents by operating or assisting in the operation of one or more commercial, interactive e-

commerce stores that sell products using or bearing infringing versions of Plaintiff’s federally

registered copyrighted works directly to Illinois consumers. In short, each Defendant is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff

substantial injury in the State of Illinois.

II.     INTRODUCTION

        3.      Plaintiff files this action to combat online infringers who trade upon Plaintiff’s

reputation and goodwill by using Plaintiff’s copyrighted works (U.S. Reg. Nos.                    ,

                 ,                  ,                and               ) (“               Works”)

in connection with the sale and advertising of knockoff products. See Exhibit 1. Like many other

intellectual property right owners, Plaintiff suffers ongoing daily and sustained violation of its

intellectual property rights at the hands of infringers, such as Defendants herein. Defendants have

created internet stores (“Defendant Internet Stores” or “Stores”) by the dozens, using and

displaying copies and derivative works of                     Works to sell imitation versions of

Plaintiff’s signature product to unknowing customers. Plaintiff is and continues to be harmed, the

consuming public is misled and confused, and Defendants earn substantial profits from their

infringing activities.

        4.      Defendant Internet Stores share unique identifiers, such as similar design elements

of the unauthorized products offered for sale and, on information and belief, these similarities




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suggest that Defendant Internet Stores share common manufacturing sources, thus establishing

that Defendants’ infringing operations arise out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants have gone to great lengths to avoid liability by concealing

both their identities and the full scope and interworking of their infringing operation, including

changing the names of their Stores multiple times, opening new Stores, helping their friends open

Stores, and making subtle changes to their products. Plaintiff has been forced to file this action to

combat Defendants’ willful infringement of Plaintiff’s copyrighted works as well as to protect

unknowing consumers from purchasing knockoff products over the Internet. Accordingly, Plaintiff

seeks injunctive and monetary relief.

III.    THE PARTIES

                                   Plaintiff                         , LLC

        5.        Plaintiff is a                  limited liability company and is the creator and seller

of high-quality            products (“                     Products”) designed to



                                   . They are

                                               . Plaintiff sells these products through its

brand, which allows consumers to purchase the genuine products through the company’s website.

        6.        Plaintiff is the owner of several copyright registrations (U.S. Reg. Nos.

                   ,                  ,                     ,                , and                ). The

registration information for                       Works and copies of the corresponding images are

shown in Exhibit 1 attached hereto. Plaintiff uses the                         Works in connection with

advertising and demonstrating the                               Products. Upon information and belief,




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Defendants have persisted in infringing Plaintiff’s copyrights after the effective date of the

copyright registrations.

          7.    Since their first publication,                Works have been used to sell

          Products. Plaintiff’s products and its accompanying copyrighted works have been the

subject of substantial and continuous marketing and promotion by Plaintiff throughout the United

States.

          8.    Among the exclusive rights granted to Plaintiff under the U.S. Copyright Act are

the exclusive rights to reproduce, distribute, and display                     Works to the public.

Plaintiff has never granted authorization to Defendants to use Plaintiff’s copyrighted works to

advertise, market, or promote unauthorized goods.

          9.    Plaintiff launched its                branded products in       , which are available

through its website.1 Plaintiff’s founder and inventor created                        Products after

observing a need for                                                          . Plaintiff has been and

continues to heavily market and promote its unique products using its federally registered works

on its website, social media, advertisements, and product demonstration videos. Its website and

social media feature original content, reviews, and testimonials for                  Products.

          10.   Plaintiff is the manufacturer, distributor, and retailer of                 Products.

The Company is engaged in the business of distributing and retailing its high-quality

products within the Northern District of Illinois. Defendants’ sales of the knockoff products by

using Plaintiff’s copyrighted works in violation of Plaintiff’s intellectual property rights are

irreparably damaging Plaintiff.




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                                            Defendants

        11.    Defendants are individuals and entities who, upon information and belief, reside in

the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including within the State of Illinois and in this Judicial District,

through the operation of fully interactive commercial websites or Defendant Internet Stores in

various online commercial marketplaces. Each Defendant targets the United States, including

Illinois, and has offered to sell and, on information and belief, has sold and continues to sell

knockoff products to consumers within the United States, including Illinois and this Judicial

District, with Plaintiff’s copyrighted works.

        12.    Defendants are an interrelated group of infringers who create numerous Defendant

Internet Stores and design these stores to appear to be selling genuine                  Products by

unlawfully using Plaintiff’s copyrighted works, while they actually sell inferior imitations of

Plaintiff’s                Products. Defendant Internet Stores share unique identifiers, such as

common design elements, the same or similar knockoff products that they offer for sale, similar

product descriptions, the same or substantially similar shopping cart platforms, accepted payment

methods, and check-out methods, lack of contact information, and identically or similarly priced

products and volume sale discounts. As such, Defendant Internet Stores establish a logical

relationship between them and suggest that Defendants’ illegal operations arise out of the same

transaction or occurrence. The tactics used by Defendants to conceal their identities and the full

scope of their infringing operation make it virtually impossible for Plaintiff to learn the precise

scope and the exact interworking of their network. If Defendants provide additional credible

information regarding their identities, Plaintiff will take appropriate steps to amend the Complaint.




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IV.     DEFENDANTS’ UNLAWFUL CONDUCT

        13.       Upon information and belief, at all relevant times hereto, Defendants in this action

have had full knowledge of Plaintiff’s ownership of the                         Works, including its

exclusive right to use and license such intellectual property and the associated goodwill.

        14.       Defendants have purposefully directed some portion of their infringing activities

towards consumers in the District through advertisement with Plaintiff’s copyrighted works as

well as through offer to sell, sale, or shipment of knockoff goods associated with infringing works

into the State.

        15.       Defendants directly engaged in unfair competition with Plaintiff by advertising,

offering for sale, or selling goods bearing or using unauthorized reproductions or derivatives of

Plaintiff’s copyrighted works to consumers within the United States and this District through their

internet-based e-commerce stores.

        16.       Infringers, such as Defendants here, are typically in communication with each

other. They regularly participate in QQ.com chat rooms and communicate through websites such

as sellerdefense.cn, kaidianyo.com, and kuajingvs.com, where they discuss tactics for operating

multiple accounts, evading detection, pending litigation, and potential new lawsuits.

        17.       Defendants take advantage of the anonymity provided by the internet, which allows

them to evade enforcement efforts to combat infringement. For example, infringers take advantage

of the fact that marketplace platforms do not adequately subject new sellers to verification and

confirmation of their identities, allowing Defendants to “routinely use false or inaccurate names

and addresses when registering with these Internet platforms.” See Exhibit 2, Daniel C.K. Chow,

Alibaba, Amazon, and Counterfeiting in the Age of the Internet, 41 NW. J. INT’L. L. & BUS. 24

(2020). Additionally, “Internet commerce platforms create bureaucratic or technical hurdles in




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helping brand owners to locate or identify sources of counterfeits and counterfeiters.” Id. at 25.

Therefore, with the absence of regulation, Defendants may and do garner sales from Illinois

residents by setting up and operating e-commerce internet stores that target United States

consumers using one or more aliases, offer shipping to the United States, including Illinois, accept

payment in U.S. dollars, and, on information and belief, have sold knockoff products to residents

of Illinois.

        18.    Defendants go to great lengths to conceal their identities by using multiple fictitious

names and addresses to register and operate their massive network of Defendant Internet Stores.

Other Defendant domain names often use privacy services that conceal the owners’ identities and

contact information. Upon information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms by using the identities listed in Schedule A of

this Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of the many common tactics used by Defendants to conceal their

identities, the full scope and interworking of their massive infringing operation, and to avoid being

shut down.

        19.    The unauthorized products advertised and for sale in Defendant Internet Stores bear

similarities and indicia of being related to one another, suggesting that the knockoff products are

manufactured by and come from a common source and that, upon information and belief,

Defendants are interrelated.

        20.    Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the                Works in connection with the advertisement,

offer for sale, and sale of the knockoff products, through, inter alia, the internet. The knockoff

products are not                  branded products of the Plaintiff. Plaintiff did not manufacture,




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inspect, or package the knockoff products and did not approve the knockoff products for sale or

distribution. Each of Defendant Internet Stores offers shipping to the United States, including

Illinois, and, on information and belief, each Defendant has sold knockoff products into the United

States, including Illinois.

        21.     Defendants’ use of                     Works in connection with the advertising,

distribution, offer for sale, and sale of knockoff products, including the sale of knockoff products

into Illinois, is likely to cause and has caused confusion, mistake, and deception by and among

consumers and is irreparably harming Plaintiff.

        22.     Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling knockoff products that infringe upon                         Works unless

preliminarily and permanently enjoined. As such, Plaintiff also seeks to disable domain names

owned by Defendants that are the means by which Defendants could continue to infringe Plaintiff’s

intellectual property.

                                             COUNT I

                     COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

        23.     Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 22.

        24.     Plaintiff’s works have significant value and have been produced and created at

considerable expense. Plaintiff is the owner of each original work, and all works at issue have been

registered with the U.S. Copyright Office. See Exhibit 1.

        25.     Plaintiff, at all relevant times, has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including, but not limited to, the Plaintiff’s

copyrighted works, including derivative works.




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        26.     Upon information and belief, Defendants had access to the works through

Plaintiff’s normal business activities. After accessing Plaintiff’s works, Defendants wrongfully

created copies of the Plaintiff’s copyrighted works without Plaintiff’s consent and engaged in acts

of widespread infringement through publishing and distributing the Plaintiff’s works via online

websites and digital markets in connection with the marketing of their knockoff products.

        27.     Plaintiff is informed and believes and thereon alleges that Defendants further

infringed Plaintiff’s copyrights by making or causing to be made derivative works from Plaintiff’s

works by producing and distributing reproductions without Plaintiff’s permission.

        28.     Defendants, without the permission or consent of Plaintiff, have published online

infringing derivative works of Plaintiff’s works. Defendants have violated Plaintiff’s exclusive

rights of reproduction and distribution. Defendants’ actions constitute an infringement of

Plaintiff’s exclusive rights protected under the Copyright Act, 17 U.S.C. § 101, et seq.

        29.     Further, as a direct result of the acts of copyright infringement, Defendants have

obtained direct and indirect profits they would not have otherwise realized but for their

infringement of the copyrighted Plaintiff’s works. Plaintiff is entitled to disgorgement of

Defendants’ profits directly and indirectly attributable to their infringement of Plaintiff’s works.

        30.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts, and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

        31.     As a result of Defendants’ infringement of Plaintiff’s exclusive rights under its

copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. § 504, and to recovery of its costs

and attorneys’ fees pursuant to 17 U.S.C. § 505.




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       32.      The conduct of Defendants is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated

or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§ 502-503,

Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff’s

copyrights and ordering that Defendants destroy all unauthorized copies. Defendants’ copies,

digital files, and other embodiments of Plaintiff’s copyrighted works from which copies can be

reproduced should be impounded and forfeited to Plaintiff as instruments of infringement, and all

knockoff copies created by Defendants should be impounded and forfeited to Plaintiff, under 17

U.S.C. § 503.

                                            COUNT II

                   FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125)

       33.      Plaintiff hereby realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 32.

       34.      By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling, and/or otherwise dealing in the knockoff

products, Defendants have offered and shipped goods in interstate commerce.

       35.      Likewise, by manufacturing, importing, exporting, advertising, marketing,

promoting, distributing, displaying, offering for sale, selling, and/or otherwise dealing in the

knockoff products, Defendants have and continue to trade on the extensive goodwill of Plaintiff to

induce customers to purchase an imitation version of Plaintiff’s products, thereby directly

competing with Plaintiff. Such conduct has permitted and will continue to permit Defendants to

make substantial sales and profits based on the goodwill and reputation of Plaintiff, which Plaintiff




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has amassed through its lengthy nationwide marketing, advertising, sales, and cumulative

consumer recognition.

          36.   Defendants knew or, by the exercise of reasonable care, should have known that

their past, current, and continuing advertising, marketing, promotion, distribution, display,

offering for sale, sale and/or otherwise dealing in the knockoff goods with                     Works

has and will continue to cause confusion and mistake or to deceive purchasers, users, and the

public.

          37.   By using Plaintiff’s copyrighted works in connection with advertising, marketing,

promotion, distribution, display, offering for sale, sale, and/or otherwise dealing in imitation

versions of Plaintiff’s products, Defendants has created and is creating a likelihood of confusion,

mistake, and deception among the public as to the affiliation, connection, or association with

Plaintiff or the origin, sponsorship, or approval of such products. By their use of Plaintiff’s original

photographs in association with the offer and sale of the knockoff products, Defendants seek to

further confuse the relevant public as to the source or sponsorship of their goods by Plaintiff.

          38.   Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the knockoff product to the public is a willful violation of Section 43 of the

Lanham Act, 15 U.S.C. § 1125.

          39.   As a direct and proximate result of Defendants’ wrongful actions, Plaintiff has been

and will continue to be deprived of substantial sales of its genuine products.

          40.   Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.




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and misconduct including, without limitation, a concerted and collaborated effort to maintain the

distribution, marketing, advertising, shipping, offer for sale, or sale of knockoff products in

violation of the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       47.     The intent, purpose, and objective of the conspiracy and the underlying

combination of unlawful acts and misconduct committed by the Defendants was to undermine

Plaintiff and its business by unfairly competing against it as described above.

       48.     Defendants each understood and accepted the foregoing scheme and agreed to do

their respective part, to further accomplish the foregoing intent, purpose, and objective. Thus, by

entering the conspiracy, each Defendant has deliberately, willfully, and maliciously permitted,

encouraged, and/or induced all the foregoing unlawful acts and misconduct.

       49.     As a direct and proximate cause of the unlawful acts and misconduct undertaken

by each Defendant in furtherance of the conspiracy, Plaintiff has sustained, and unless each

Defendant is restrained and enjoined, will continue to sustain severe, immediate, and irreparable

harm, damage, and injury for which Plaintiff has no adequate remedy at law.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

A.     That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

       acting for, with, by, through, under, or in active concert with them be temporarily,

       preliminarily, and permanently enjoined and restrained from:

          i.   using                 Works or any reproductions, copies, or colorable imitations

               thereof in any manner with the distribution, marketing, advertising, offering for

               sale, or sale of any product that is not an authorized                Product or is

               not authorized by Plaintiff to be sold in connection with                Works;




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     ii.   passing off, inducing, or enabling others to sell or pass off any product or not

           produced under the authorization, control, or supervision of Plaintiff and approved

           by Plaintiff for sale under                Works;

    iii.   further infringing                Works and damaging Plaintiff’s goodwill;

    iv.    shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not authorized by Plaintiff to be sold or offered for sale, and which

           directly use                    Works, and which are derived from Plaintiff’s

           copyrights in                 Works; and

     v.    using, linking to, transferring, selling, exercising control over, or otherwise owning

           the Defendant Internet Stores, or any other online marketplace account that is being

           used to sell products or inventory not authorized by Plaintiff which are derived from

           Plaintiff’s copyrights in                Works; and

B. Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and those

   with notice of the injunction, including any online marketplaces such as:

                ; payment processors such as: PayPal, Stripe, Payoneer, and LianLian; social

   media platforms such as: Facebook, Instagram, Snapchat, TikTok, YouTube, LinkedIn,

   and Twitter; Internet search engines such as Google, Bing, and Yahoo; webhosts for the

   Defendants Domain Names; and domain name registrars, that are provided with notice of

   the injunction, cease facilitating access to any or all webstores through which Defendants

   engage in the sale of knockoff products using the Plaintiff’s copyrights; shall:

      i.   disable and cease providing services for any accounts through which Defendants

           engage in the sale of products not authorized by Plaintiff which reproduce




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                   Works or are derived from                     Works, including any accounts

           associated with the Defendants listed on Schedule A;

     ii.   disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of products not authorized by Plaintiff

           which are derived from                   Works; and

    iii.   take all steps necessary to prevent links to the Defendant accounts identified on

           Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant accounts from any search index; and

C. For Judgment in favor of Plaintiff against Defendants that they have: a) willfully infringed

   Plaintiff’s rights in its federally registered copyrights pursuant to 17 U.S.C. §501; and b)

   otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

   conduct set forth in this Complaint;

D. For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

   damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be

   determined at trial;

E. That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

F. That Plaintiff be awarded any and all other relief that this Court deems equitable and just.

   Plaintiff demands trial by jury as to all causes of action so triable.




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Dated: September 19, 2024                Respectfully submitted,

                                         /s/ James E. Judge

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